                                                                                 Case 5:13-cv-01317-EJD Document 335 Filed 09/16/14 Page 1 of 1



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6
                                                                          7                              IN THE UNITED STATES DISTRICT COURT
                                                                          8                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9                                           SAN JOSE DIVISION
                                                                         10    PERSONALWEB TECHNOLOGIES, LLC,                        CASE NO. 5:13-cv-01317 EJD
                                                                               et. al.,
                                                                         11                                                          ORDER RE: MOTION FOR RELIEF
United States District Court




                                                                                                                                     FROM NON-DISPOSITIVE PRETRIAL
                               For the Northern District of California




                                                                         12                   Plaintiff(s),                          ORDER
                                                                                 v.
                                                                         13
                                                                               GOOGLE, INC., et. al.,
                                                                         14
                                                                         15                   Defendant(s).
                                                                                                                            /
                                                                         16
                                                                         17           Pursuant to Civil Local Rule 72-2, Defendants shall file written opposition to Plaintiffs’
                                                                         18   Motion for Relief from Non-Dispositive Pretrial Order (Docket Item No. 333), if any, on or before
                                                                         19   September 23, 2014. The opposition brief shall not exceed five (5) pages in length. No reply brief
                                                                         20   shall be filed or considered. The Motion will then be deemed submitted for decision and the court
                                                                         21   will issue an order based on the pleadings.
                                                                         22   IT IS SO ORDERED.
                                                                         23
                                                                         24   Dated: September 16, 2014
                                                                                                                                        EDWARD J. DAVILA
                                                                         25                                                             United States District Judge
                                                                         26
                                                                         27
                                                                         28
                                                                                                                                 1
                                                                              CASE NO. 5:13-cv-01317 EJD
                                                                              ORDER RE: MOTION FOR RELIEF FROM NON-DISPOSITIVE PRETRIAL ORDER
